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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                             ALEXANDRIA DIVISION

  ELECTRONIC PRIVACY INFORMATION CENTER;
  1519 New Hampshire Avenue NW,
  Washington, D.C. 20036

  DOE 1;

       Plaintiffs,

       v.

  U.S. OFFICE OF PERSONNEL MANAGEMENT
  1900 E Street NW
  Washington, D.C. 20415

  CHARLES EZELL, in his official capacity as Acting          Civil No. 1:25-cv-00255
  Director of the Office of Personnel Management;
  1900 E Street NW
  Washington, D.C. 20415

  U.S. DEPARTMENT OF THE TREASURY
  1500 Pennsylvania Avenue NW
  Washington, D.C.

  SCOTT BESSENT, in his official capacity as
  Secretary of the Treasury;
  1500 Pennsylvania Avenue NW
  Washington, D.C. 20220

  U.S. DOGE SERVICE;
  736 Jackson Place NW
  Washington, DC 20503

  ACTING U.S. DOGE SERVICE ADMINISTRATOR
  736 Jackson Place
  Washington, D.C. 20503

  U.S. DOGE SERVICE TEMPORARY
  ORGANIZATION;
  736 Jackson Place
  Washington, D.C. 20503

       Defendants.
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         PLAINTIFFS’ MOTION FOR A TEMPORARY RESTRAINING ORDER


        Pursuant to Federal Rule of Civil Procedure 65, Plaintiffs Electronic Privacy Information

 Center (“EPIC”) and Doe 1 hereby move for a temporary restraining order for the following relief:

        (1) enjoining the Department of Treasury (“Treasury”) and Office of Personnel

 Management (“OPM”) from allowing DOGE-affiliated personnel to access Bureau of Fiscal

 Services or Enterprise Human Resources Integration systems;

        (2) enjoining DOGE-affiliated personnel from accessing Treasury or OPM systems

 containing personally identifiable information except consistent with relevant SORNs; and

        (3) requiring Defendants Treasury and OPM to file a status report within 24 hours of the

 issuance of a Temporary Restraining Order, confirming that DOGE-affiliated personnel no longer

 have access to EHRI or BFS systems.

        Counsel emailed the three Assistant Directors of the Federal Programs Branch immediately

 prior to making this application to the Court, and provided them with electronic copies of the

 complaint, motion for temporary restraining order, and accompanying brief, declarations, and

 proposed order via e-mail before completing this electronic filing.




  Dated: February 12, 2025                         Respectfully submitted,

                                                   /s/ Matthew B. Kaplan
                                                   Matthew B. Kaplan, VSB # 51027
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                                                   Alan Butler*
                                                   EPIC Executive Director
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                                      * pro hac vice application forthcoming

                                      Counsel for Plaintiffs
